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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          Case No. 18-cv-22923-GAYLES/OTAZO-REYES

    JELEN CARPIO
    as personal representative of the estate
    of DIOGENES CARPIO, JR.,

            Plaintiff,

    -vs-

    NCL (BAHAMAS) LTD.,
    D-I DAVIT INTERNATIONAL, INC.,
    HATECKE SERVICE USA, LLC, and
    D-I DAVIT INTERNATIONAL-
    HISCHE, GMBH.

    Defendants.
    ________________________________/

       [PROPOSED] ORDER ON DEFENDANT D-I DAVIT INTERNATIONAL, INC.’S
                        UNOPPOSED MOTION TO SEAL
           The cause comes before the Court on the Motion to Seal of Defendant D-I DAVIT

   INTERNATIONAL, INC. (“Davit US”). Davit US requests that this Court enter an Order sealing

   exhibits annexed to its previous Motions to Dismiss submitted to this Court, filed August 17, 2018

   and September 11, 2018 (Dkt. Nos. 16-4 and 30-2), on the grounds that the documents contain

   taxpayer identification information that is private information under Fed. R. Civ. 5.2. Plaintiff

   JELEN CARPIO consents to the relief sought. The Court having considered the Motion, being

   aware that there is no opposition to the relight requested, and being otherwise duly informed in the

   law and premises, it is hereby ORDERED and ADJUDGED that:

           The Motion is GRANTED. For the good cause shown in the Motion, the exhibits located

   at Docket Entry Numbers 16-4 and 30-2 shall be sealed and shall remain sealed permanently,




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   unless disclosure is required pursuant to a further Order of this Court upon a finding of necessity,

   such as for judicial or governmental purposes or First Amendment grounds.

          DONE AND ORDERED in Chambers in Miami-Dade County, Florida, this ____

   day of ________, 2020.




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